                                UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF IOWA
                                         EASTERN DIVISION



        STARLYN ENSZ,                             Case No.       18-CV-2065

                   Plaintiff,

                       v.                         COMPLAINT

        CHASE BANK USA, N.A.,
                                                  Jury Trial Requested
                  Defendant.



       Plaintiff, STARLYN ENSZ



                                            INTRODUCTION

   1. Plaintiff brings this action on behalf of herself individually seeking damages and any other

available legal or equitable remedies resulting from the illegal actions of Defendant, in



violation of the Tel                                                               et seq.

                                   JURISDICTION AND VENUE

   2. Jurisdiction of this Court arises under 28 U.S.C. §1331 and 47 U.S.C. § 227(b)(3). See

Mims v. Arrow Financial Services, LLC, 565 U.S. 368 (2012) holding that federal and state courts

have concurrent jurisdiction over private suits arising under the TCPA.

   3. Venue is proper in the United States District Court for the Northern District of Iowa

pursuant to 28 U.S.C § 1391(b)(2) because Plaintiff resides within this District and a substantial

part of the events or omissions giving rise to the herein claims occurred within this District.

   4. The violations described in this Complaint occurred in Iowa.



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                                             PARTIES

    5. Plaintiff is a natural person residing in Mitchell County, in the town of McIntire, Iowa,

and is otherwise sui juris.

    6. Defendant is a nationally chartered bank, doing business in the state of Iowa, with its

principal place of business located in Wilmington, Delaware.

    7. At all times relevant to this Complaint, Defendant has acted through its agents, employees,

officers, members, directors, heir, successors, assigns, principals, trustees, sureties, subrogees,

representatives and insurers.

                                   FACTUAL ALLEGATIONS

    8.                                                C. §153 (39).

    9. Defendant placed collection calls to Plaintiff seeking and attempting to collect on alleged

debts incurred through purchases made on credit issued by Defendant.

    10.

    11.                                                                                      (319)

XXX-3428.

    12. Defendant placed collection calls to Plaintiff from various telephone numbers including,

but not limited to, (402) 220-4351, (847) 426-9203, (847) 426-9209, (407) 732-2415, (602) 253-

6722, (210) 520-0004, (813) 372-1900 and (847) 426-9145.

    13.



    14. Defendant used an

227(a)(1), to place telephone calls to Plaintiff seeking to collect a consumer debt allegedly owed

by Plaintiff.


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   15.

227(b)(1)(A).

   16.

service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. §227(b)(1).

   17.                                                                    to receive calls using an

automatic telephone dialing system or an artificial or prerecorded voice on her cellular telephone

pursuant to 47 U.S.C. § 227(b)(1)(A).

   18. On or about December 13, 2017

(210) 520-                                                                                         .

   19. During the aforementioned conversation, Plaintiff gave Defendant her full social security

number and telephone number in order to assist Defendant in identifying her and accessing her

accounts before asking Defendant to stop calling her cellular telephone.

   20. Plaintiff revoked any consent, explicit, implied, or otherwise, to call her cellular telephone

                                                                     hone dialing system in her

                                                  December 13, 2017.

   21.

Plaintiff after December 13, 2017.

   22. Defendant continued to place collection calls to Plaintiff on her cellular telephone at least

through May 2018.

   23.

Plaintiff via the use of an automatic telephone dialing system, Defendant continued to place at

least one hundred nine (109) telephone calls via the use of an automatic telephone dialing system




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    24. Defendant placed the great number of telephone calls to Plaintiff with the sole intention

of harassing Plaintiff in such a manner so as to cause Plaintiff to pay the alleged debt claimed by

Defendant, even when Plaintiff admittedly had impaired ability to pay. This telephonic harassment

caused Plaintiff considerable anxiety and emotional distress.

                          FIRST CAUSE OF ACTION
      NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION
                       ACT - 47 U.S.C. §227(b)(3)(B)

    25. Plaintiff repeats and incorporates by reference into this cause of action the allegations set

forth above at Paragraphs 1-24.

    26. The foregoing acts and omissions of Defendant constitute numerous and multiple

negligent violations of the TCPA, including but not limited to each and every one of the above

cited provisions of 47 U.S.C. § 227 et seq.

    27.

entitled to an award of $500.00 in statutory damages, for each and every violation, pursuant to 47

U.S.C. § 227(b)(3)(B).

    28. Plaintiff is also entitled to injunctive relief prohibiting such conduct in the future.

    WHEREFORE, Plaintiff, STARLYN ENSZ, respectfully requests judgment be entered

against Defendant, CHASE BANK USA, N.A., as follows:

          a.        Awarding Plaintiff statutory damages of five hundred dollars ($500.00) multiplied

by the number of negligent violations of the TCPA alleged herein, to wit: one hundred fifteen

(109) for a total of fifty thousand five hundred dollars ($54,500.00);

          b.        Awarding Plaintiff actual damages and compensatory damages according to proof

at time of trial;

          c.        Granting Plaintiff such other and further relief as may be just and proper.


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                            SECOND CAUSE OF ACTION
               KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE
                          CONSUMER PROTECTION ACT
                               47 U.S.C. § 227(b)(3)(C)
    29. Plaintiff repeats and incorporates by reference into this cause of action the allegations set

forth above at Paragraphs 1-24.

    30. The above listed acts and omissions of Defendant constitute numerous and multiple

knowing and/or willful violations of the TCPA, including but not limited to each and every one

of the above cited provisions of 47 U.S.C. § 227 et seq.

    31.                                                r willful violations of 47 U.S.C. § 227 et seq.,

Plaintiff is entitled an award of one thousand five hundred dollars ($1,500.00) in statutory

damages for each and every violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. §

227(b)(3)(C).

    32. Plaintiff is also entitled to injunctive relief prohibiting such conduct in the future.

    WHEREFORE, Plaintiff, STARLYN ENSZ, respectfully requests judgment be entered

against Defendant, CHASE BANK USA, N.A., as follows:

          a.        Awarding Plaintiff statutory damages statutory damages of one thousand five

hundred dollars ($1,500.00) multiplied by the number of knowing and/or willful violations of

TCPA alleged herein, to wit: one hundred nine (109) for a total of one hundred fifty-one thousand

dollars ($163,500.00);

          b.        Awarding Plaintiff actual damages and compensatory damages according to proof

at time of trial;

          c.        Granting Plaintiff such other and further relief as may be just and proper.

                                          JURY TRIAL DEMAND

    Plaintiff demands a jury trial on all issues so triable.


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Dated: August 30, 2018

                    RESPECTFULLY SUBMITTED,

                              By:    /s/ Jason Ravnsborg
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